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                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 RALEIGH DIVISION

IN RE:

BAXLEY CORPORATION, LLC                                             CASE NO. 22-00397-5-DMW
                                                                    CHAPTER 7
DEBTOR.


                             MOTION TO EXTEND STAY

        NOW COMES, Baxley Leasing, LLC, and Martha Ginger Baxley (collectively “Movants”),
by and through counsel, and respectfully moves this Court for an Order extending the automatic
stay to protect equity of certain equipment and vehicles for the benefit of the Debtor’s estate. In
support of this, Movants state to the Court:

       1.    On February 23, 2022, Baxley Corporation LLC (“Corp”) filed a petition for relief
under Chapter 7 of the Bankruptcy Code (the “Petition Date”) and James B. Angell is the duly
appointed Chapter 7 Trustee.

       2.      On March 9, 2022, the Trustee file an Adversary Proceeding asserting that the Debtor
was an alter ego of the Debtor.

       3.    On May 25, 2022, the Trustee filed a Motion to Approve Compromise and Settlement
with Baxley Leasing, LLC and Baxley Construction Co., Inc., Pursuant to Fed. R. Bankr. P. 9019
[DE-205].

       4.     The Order Granting Trustee’s Motion to Approve Compromise was entered on June
28, 2022 [DE-237].

        5.      The Settlement, among other things, involved Baxley Leasing providing a promissory
note in the amount of $249,461.37 payable to the Debtor’s Estate and secured by certain equipment
and vehicles owned or to be acquired by Baxley Leasing, LLC. The list of this “Equipment and
Vehicles” is attached as Exhibit A and incorporated by reference.

        6.    Upon information and belief, the following creditors hold a security interest in certain
of the Equipment and Vehicles:

       •       GM Financial
       •       Citizen One Bank
       •       US Bank
       •       Leaf Capital
       •       Huntington Bank
       •       Kubota Credit Corporation
       •       Marlin Leasing Corporation
       •       Tri City Automotive
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       7.      In essence, Baxley Leasing was buying the equity of the Equipment and Vehicles from
the Trustee for the benefit of the Debtor’s Estate.

      8.     To protect this interest, it was agreed that Movants with the support of the Trustee
would move the Bankruptcy Court to extend the Automatic Stay.

       9.      The automatic stay provided by 11 U.S.C. § 362(a)(3) is designed to stop “any act to
obtain possession of property of the estate or of property from the estate or to exercise control over
property of the estate . . . .”

       10.     Here, the Equipment and Vehicles are owned by Baxley Leasing and the equity is
property of the Debtor’s Estate pursuant to the security agreement provided under the settlement
agreement.

       11.     Creditors are protected because in the event of default by Baxley Leasing, Baxley
Leasing is required to turn the property over to the Trustee and the Trustee is authorized to sell the
property, paying any liens senior to the Estate from the proceeds.

       12.    Accordingly, Movants with the support of the Trustee ask this Court for an Order
extending the Automatic Stay to the Equipment and Vehicles.

        WHEREFORE, Baxley Leasing, LLC, and Martha Ginger Baxley, joined by the Trustee,
respectfully move the Court to extend the Automatic Stay to the Equipment and Vehicles listed in
Exhibit A.

       Respectfully submitted, this the 9th day of August 2022.

                                               EVERETT GASKINS HANCOCK LLP

                                               /s/ William H. Kroll
                                               William H. Kroll
                                               N.C. State Bar No. 39149
                                               PO Box 911
                                               Raleigh, NC 27602
                                               (919) 755-0025
                                               (919) 755-0009 (fax)
                                               bill@eghlaw.com
                                               Counsel for Baxley Leasing, LLC and
                                               Martha Virginia Baxley
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                      EXHIBIT A - MOTION TO EXTEND STAY
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                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 RALEIGH DIVISION

IN RE:

BAXLEY CORPORATION, LLC                                              CASE NO. 22-00397-5-DMW
                                                                     CHAPTER 7
DEBTOR.


                          NOTICE OF MOTION TO EXTEND STAY

        NOTICE IS HEREBY GIVEN that Baxley Leasing, LLC, and Martha Baxley, with the
support of the Chapter 7 Trustee, filed a Motion to Extend Stay on August 9, 2022, to protect the
equity in certain Equipment and Vehicles that is property of the Debtor’s Estate pursuant to the
security agreement provided under a settlement agreement.

       FURTHER NOTICE IS HEREBY GIVEN that this Motion may be allowed provided no
response and request for a hearing is made by a party in interest in writing to the Clerk of this Court
on or before 14 days from the date of this Notice.

       This 9th day of August 2022.

                                              s/William H. Kroll
                                              WILLIAM H. KROLL
                                              N.C. State Bar No. 39149
                                              EVERETT GASKINS HANCOCK LLP
                                              220 Fayetteville Street, Suite 300
                                              P.O. Box 911 Raleigh, NC 27602
                                              Email: bill@eghlaw.com
                                              Phone: (919) 755-0025
                                              Fax: (919) 755-0009
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the foregoing Motion to Extend Stay
and Notice was electronically filed through CM/ECF or served via the U.S. postal service, postage
prepaid, to the parties attached as Exhibit 1 and listed below, as noted:

Via CM/ECF:

Bankruptcy Administrator                            James B. Angell
                                                    Howard Stallings, From, Atkins,
                                                    Angell & Davis, P.A.
                                                    Chapter 7 Trustee

Via U.S. postal service, postage prepaid:

       GM Financial                                         Huntington Bank
       Attn: Manager, Agent, Officer                        Attn: Manager, Agent, Officer
       4141 Parklake Ave #100                               1111 West San Marnan Drive, Suite
       Raleigh, NC 27612                                    A2 West
                                                            Waterloo, IA 50701-8926
       Citizen One Bank
       Attn: Manager, Agent, Officer                        Kubota Credit Corporation
       One Citizens Bank Way, JCA110                        Attn: Manager, Agent, Officer
       Johnston, RI 02919                                   1000 Kubota Dr.
                                                            Grapevine, TX 76051
       US Bank
       Attn: Manager, Agent, Officer                        Marlin Leasing Corporation
       800 Nicollet Mall                                    Attn: Manager, Agent, Officer
       Minneapolis, MN 55402                                300 Fellowship Road
                                                            Mount Laurel, NJ 08054
       Leaf Capital
       Attn: Manager, Agent, Officer                        Tri City Automotive
       PO Box 5066                                          Attn: Manager, Agent, Officer
       Hartford, CT 06102-5066                              990 S. Bennett St.
                                                            Southern Pines, NC 28387

        This the 9th day of August 2022.

                                             /s/ William H. Kroll
                                             William H. Kroll
                               EXHIBIT
             Case 22-00397-5-DMW   Doc 1277
                                         - Certificate of ServiceEntered 08/09/22 10:24:51
                                             Filed 08/09/22                                                  Page 7 of
                                                       10
Label Matrix for local noticing               ADP, Inc.                              ATtT
0417-5                                        4101 Doie Cope Road                    11760 US Highway 1
Case 22-00397-5-DMH                           Raleigh, NC 27613-7387                 Suite 600
Eastern District of North Carolina                                                   North Palm Beach, FL 33408-3029
Raleigh
Mon Aug 8 14:49:27 EDT 2022
ATST, Inc.                                    AT&T, Inc.                             Apple, Inc.
1025 Lenox Park Blvd                          208 S, Akard Street                    20705 Valley Green Drive
Atlanta, 6A 30319-5309                        Suite 2954                             Cupertino, CA 95014-1703
                                              Dallas, TX 75202-4206



Baxley Construction Company, Inc.             Baxley Corporation, LLC                ilaXieyLjieasing, LLC
Attn; Constance A. Baxley, Registered Ag      Attn; Holmes P, Harden, Trustee        Attn; Officerr-Agent, or Managing Agent
1190 E, Connecticut Ave                       301 Fayetteville Street, Suite 1700    1211 Wake Forest Road'
Southern Pines, NC 28387-6747                 Raleigh, NC 27601-2173                 Raleigh, NC 27604-1350



(p)CAPITAL ONE                                East Bay Company, Ltd,                 Ellington Digital Forensics
PO BOX 30285                                  c/o Blake Boyette                      PO Box 1202
SALT LAKE CITY CT 84130-0285                  4700 Six Forks Road                    Wake Forest, NC 27588-1202
                                              Suite 150
                                              Raleigh, NC 27609-5288


First National Bank of PA                     First National Bank of Pennsylvania    Hendren, Redwine S Malone, PLIC
3015 Glimcher Blvd                            Attn; Officer/Legal Dept,              4600 Marriott Dr, Suite 150
Hemitage, PA 16148-3343                       3015 Glimcher Blvd                     Raleigh, NC 27612-3367
                                              Hennitage, PA 1614S-3343



(p)JPMORGAN CHASE BANK N A                    Kubota Credit Corporation (HNFI)       Manning, Fulton S Skinner, P,A.
BANKRUPTCY MAIL INTAKE TEAM                   FO Box 2313                            3605 Glenwood Avenue
700 KANSAS LANE FLOOR 01                      Carol Stream, IL 60132-2313            Suite 500
MONROE LA 71203-4774                                                                 Raleigh, NC 27612-3970



North Carolina Department of Transportation   North Carolina National Guard          Pinnacle Bank
Attn; Dana Friedrichs, Natalie Carter, o      Construction and Facility Management   c/o Alan B, Powell
Transportation Building                       1636 Gold Star Drive                   Roberson Haworth & Reese, PLLC
1 South Wilmington Street                     Raleigh, NC 27607-3371                 P.O, Box 1550
1501 Mail Service Center                                                             High Point, NC 27261-1550
Raleigh, Nc 27699-1500
Stripe, Inc.                                  TD Ameritrade, Inc.                    The Antonelli Law Finn
354 Oyster Point Boulevard                    200 S 108th Ave,                       Attn; Managing Agent
South San Francisco, CA 940SO-1912            Omaha, NE 68154-2631                   8801 Fast Park Drive, Suite 301
                                                                                     Raleigh, NC 27617-4853



Trouve Lighting, LLC                          Verizon                                •U,t S, Bankruptcy Court
Attn: Managing Agent                          180 Washington Valley Road             SOin'ayetteviUe Street, 4th Floor
1211 Wake Forest Road                         Bedminster, NJ 07921-2123              P.O, Box79l~
Raleigh, NC 27604-1350                                                               Raleigh, NC 27602-0';



ADP Inc.                                      (p)AF GROUP                            Airgas USA
1851 N, Resier                                ATIN SEOFFREY PAVLIC                   2015 Vaughn Road, Bldg 400
El Paso; TX 79912-8023                        200 N GRAND AVE                        Kennesaw, GA 30144-7802
                                              LANSING MI 48933-1228
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                                                   10
*Baxley Leasing, LLC                  CCS Equipment Sales, LLC                CJ Geo Contractors
Attn; Banagjjig Agent                 Attn; Manager or Agent                  Attn; Bankruptcy Department
1211 Wake ForeSf-Road                 5428 Hwy 96                             3402 Acorn Street, #202
Raleigh, NC 27604-13'SO               Youngsville, NC 27596                   Williamsburg, VA 23188-1014



Capital One Bank (USA), N,A,          Carolina Sunrock LLC                    Carolina Sunrock LLC
by American InfoSource as agent       Attn; Bankruptcy Department             c/o Ethan Fleischer
PO Box 710S3                          200 Horizon Drive, Suite 100            Bugg fi Wolf, PA
Charlotte, NC 28272-1083              Raleigh, NC 27615-4947                  411 Andrews Road, Suite 170
                                                                              Durham, NC 27705-2993


Daniel C, Bruton                      Dean's Transmission Service Inc.        Drunl Group, Inc dba Direct Surety
Bell Davis S Pitt, PA                 Attn: Bankruptcy Department             1135 Farragut Blvd
PO Box 21029                          2181 Skibo Road                         Foster City, CA 94404-3657
Hinston Salea, NC 27120-1029          Fayetteville, NC 28314-0264



Ethan Fleischer                       George Mason Oliver                     George Mason Oliver
Bugg t Wolf, PA                       PO Box 1548                             The Law Offices of
411 Andrews Road, Suite 170           New Bern, NC 28563-1548                 Oliver S Cheek, PLLC
Durham, NC 27705-2993                                                         PO Box 1S48
                                                                              New Bern, NC 28563-1548


H S E EQUIPMENT SERVICES, INC       ~flendr®n, Redwine S Malone, PLLC         (p)HERC RENTALS INC
7500 PECUE LANE                       Attn; J,"Michael Malone                 ATTN BANKRUPTCY
ATTN; MARY CARDINI                    4600 Marriotttimfc Suite 150            27500 RIVERVIEW CENTER BLVD 2ND FLOOR
BATON ROUGE, LA 70809-5107            Raleigh, NC 27612-3367'                 BONITA SPRINGS FL 34134-4328



Hitachi Capital America Corp,
Attn: Officer, Agt, Managing Agt
                                      Holmes P. Harden, Chapter 1 Trustee -
                                      George Mason Oliver, Esq,
                                                                              Holnes P. Harden, Trustee
                                                                              Williams Mullen
                                                                                                             ^tEcf
800 Connecticut Ave,                  PO Box 1548 (' im^                      301 Fayetteville Street, Suite 1700
Norwalk, CT 06854-1738                New Bern, NC 28563-1548                 Raleigh, NC 27601-2173



Huntington National Bank              Internal Revenue Service                JSB Septic Service
1405 Xenium Lance North (PCC180)      Attn; Manager or Agent                  Attn; Bankruptcy Dept.
Plymouth, MN 55441-4408               PO Box 7346                             2622 Chloe Lane
                                      Philadelphia, PA 19101-7346             Creednoor, NC 27522-7136



Leaf Capital Funding LLC              Less Back Office, LLC                   Marlin Capital Solutions
c/o Legal Department                  Attn; Managing Agent                    Attn; Bankruptcy Department
2005 Market St, 14th Floor            160 Wind Chime Court, Suite B           300 Fellowship Road
Philadelphia, PA 19103-7009           Raleigh, NC 27615-6584                  Mount Laurel, NJ 08054-1201



Marlin Capital Solutions             Tlatlinjeasing Corporation
Attn; Bankruptcy Department          300 Fellowship Road                      1211 WakeT'ores.fc. Road
PO Box 13604                         Mount Laurel, N^9MSA^1727                Raleigh, NC 27604-1^0
Philadelphia, PA 19101-3604



   b^a Virginia 'Ginger' Baxley       Martin Marietta Materials, Inc.         Martin Marietta Materials, Inc.
1211 Hi&ri'o.rest Road                Attn; Bankruptcy Dept                   c/o Benjamin Rachelson, Esq.
Raleigh, NC 27M^50                    4123 Parklake Avenue                    Adams and Reese LLP
                                      Raleigh, NC 27612-2309                  3424 Peachtree Road, NE, Suite 1600
                                                                              Atlanta, GA 30326-1139
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                                                           10
NC Dept of Commerce                           NC Dept of Revenue                           NV5 Engineers and Consultants, Inc.
Attn: Sharon A. Johnston                      Attn: A. Fountain                            Attn: Bankruptcy Department
PO Box 25903                                  PO Box 1168                                  3300 Regency Parkway, Suite 100
Raleigh, NC 27611-5903                        Raleigh, NC 27602-1168                       Gary, NC 2751S-8565



(p)NAVIGATOR LLC                              North Carolina Dept of Revenue               Pinnacle Bank
PO BOX 1770                                   Attn; Bankruptcy Unit                        150 3rd Avenue South Ste 900
RALEIGH NC 27602-1770                         PO Box 1168                                  Nashville 37201-2034
                                              Raleigh, NC 27602-1168



Puryear Transport, Inc.                       Qualified Retirement Plan Services           R.W, Conklin Steel Supply, Inc.
c/o Anderson Jones, PLLC                      Attn; Managing Agent                         Attn; Bankruptcy Department
P, 0, Box 20248                               2724 Discovery Drive, Suite 100              10852 Kenwood Road
Raleigh, NC 27619-0248                        Raleigh, NC 27616-1940                       Cincinnati, OH 45242-2812



Republic Services, Inc.                       Scott Levin, Esq.                            Secretary of Treasury
Attn; Bankruptcy Department                   McElroy, Deutsch, Mulvaney S Carpenter,      Attn: Managing Agent
18500 North Allied Way                        1617 .M Blvd., Suite 1500                    1500 Pennsylvania Ave NW
Phoenix, AZ 85054-3101                        Philadelphia, PA 19103-1815                  Washington, DC 20220-0001



Selective Insurance Company of America        Steel and Pipe Corporation                   Summit Coastal, PLLC
c/o Scott Levin, Esq,                         Attn: Bankruptcy Department                  Attn; Bankruptcy Department
McElroy, Deutsch, Mulvaney fi Carpenter,      3709 Hawkins Avenue                          224 Hindel Drive
1617 m Blvd,, Suite 1500                      Sanford, NC 27330-9519                       Raleigh, NC 27609
Philadelphia, PA 19103-1815


Sunbelt Rentals                               Todd Jones, Anderson Jones, PLLC             Triad Equipment Inc.
Attn; Bankruptcy Department                   P, 0, Box 20248                              Attn; Bankruptcy Department
5701 Chapel Hill Road                                                                      13948 Capital Blvd
Raleigh, NC 27607-5103                        Raleigh, NC 27619-0248                       Wake Forest, NC 27587-6613



Iroutman Sanders, LLP                         US Securities t Exchange                     United Capital Funding Corp,
Attn; Bankruptcy Department                   Attn; Manager or Agent                       Attn; Bankruptcy Department
305 Church at North Hills Ste 1200            950 E, Paces Ferry Rd., NE Ste 900           6000 Fairview Road, Suite 1200
Raleigh, NC 27609-2669                        Atlanta, GA 30326-1382                       Charlotte, NC 28210-2252



United Rentals, Inc.                          Onited States Attorney                       Vulcan Materials Company
Attn: Bankruptcy Department                   150 Fayetteville Street                      Attn; Teri Herron
100 First Stanford Place, Suite 700           Suite 2100                                   4401 North Patterson Avenue
Stanford, CI 06902-9200                       Raleigh, NC 27601-2959                       Winston-Salem, NC 27105-1638



Washington County Sanitation                  Watson Bowman Acme Corp,                  "^William H. Kroll
Attn; County Hanager/Attorney                 Attn; Bankruptcy Department                  mi-Baks. Forest Road
PO Box 1007                                   95 Pineview Drive                            Raleigh, NC?7WI-U5^
Plymouth, NC 27962-1007                       Amherst, NY 1422S-2166



Brandon Scott Baxley                          Constance A. Baxley                          George M, Oliver /"^\
1211 Wake Forest Road                         1190 E. Connecticut Ave                      The Law Offices of Oliver 5 Cheek, PLLC
Raleigh, NC 27604-1350                        Southern Pines, NC 28387-6747                PO Box 1548
                                                                                           New Bern, NC 28563-1548
           Case 22-00397-5-DMW                    Doc 277 Filed 08/09/22 Entered 08/09/22 10:24:51                                 Page 10 of
                                                                   10
Holmes P, Harden                                        James B Angell , (tlC'l                               Jeff Jackson
301 Fayetteville Street                                 Howard Stallings et al, P.A.I.J")                     247 East David Parnell St,
Suite 1700                                              PO Box 12347                                          Parkton, NC 28371
Raleigh, NC 27601-2173                                  Raleigh, NC 27605-2347



Jeff Jackson                                            Jonathan Keith                                     ^M|rtha Baxley
PO box 272                                              6279 Wrightsville Ave.                               c/o^mes Harsh and Bill Kroll
Parkton, NC 2S371-0272                                  Wilmington, NC 28403-3803                            PO Box 911^
                                                                                                             Raleigh, NC 2T60.2^091l
                                                                                                                              "x;-




Ronald J, Antonelli                                     Ronald J. Antonelli                                   Rudolph Baxley
8801 Fast Park Drive, Suite 301                         Ronald J, Antonelli, PC                               1190 E, Connecticut Ave
Raleigh, NC 27617-4853                                  101 Cosgrove Avenue, Sute 240                         Southern Pines, NC 28387-6747
                                                        Chapel Hill, NC 27514-5276



Rudolph Baxley                                          Rudolph Baxley                                        Ryan Ball
PO Box 2067                                             PO Box 2S655                                          1213 Coldstream Court
Southern Pines, NC 28388                                Raleigh, NC 27611-8655                                Raleigh, NC 27615-4511




Ryan Ball
4805 Green Road, Suite 100
Raleigh, NC 27616-2848




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C, 342(f) and Fed,R,Bank,P, 2002 (g)(4),



    :al.0ne N,A.                                        JPMorgan Chase Bank, N.A,                             accident Fund Insurance Company of America
15000 Capital^One Drive                                 1 ^V.^ Washington Street                              20(r-N,^Grand Ave
Richmond, VA 23238                                      Floor 1 "\                                            Lansing, ~Bl~48901
                                                        IndianapoUs;*-KU6231



Here Rentals Inc.                                      Navigator LLC
AttnT-<fl|nkruptcy Department                           POBox^70
1409 Capft&^Blvd                                        Raleigh, N^2^602-8027
Raleigh, NC 27603




                    The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.



(u)Allison Properties, Inc.                             (u)Bankruptcy Administrator                          (u)Country Boys Auction and Realty
                                                                                                             Mike Gurkins
